                                                                      ___________
                                                                                           _______

                                                                                                                                                                                    ___________
                                                                                                                                                                                    _________




                     Case 2:20-cr-00724-BRM Document 19 Filed 09/02/20 Page 1 of 1 PageID: 38


     CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)
  I. CIR/DIST./ DIV. CODE                   2. PERSON REPRESENTED                                                                       VOUCHER NUMBER
                                                 DOMINIQUE              AUSTON


  3. MAG. DKT./13EF. NUMBER                               4. DIST. DKT./DEF. NUMBER                         5. APPEALS DKT./DEF. NUMBER                      6. OTHER DKT. NUMBER
       20-cr-724-BRM



  7. EN CASE/MATTER OF (Case Name,)         8. PAYMENT CATEGORY                              <3. TYPE PERSON REPRESENTED                    10. REPRESENTATION TYPE
                                            l’ Felony                 LI Petty Offense       l( Adult Defendant          LI Appellant             (See Instructions)
    USA v DOZIER et al                      LI Misdemeanor            LI Other
                 .                          LI Appeal
                                                                                             LI Juvenile Defendant
                                                                                             LI Other
                                                                                                                         LI Appellee
                                                                                                                                                                            cc
  I I. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If mote than one otjnse, list (i to 11<0 major otJnses chorgech according to sererity
                                                                                                                                                   ofo/frnse,
       21:846 Conspiracy to distribute and possess with intent to distribute controlled
                                                                                        substances

  12. ATTORNEY’S NAME (First Name, MI., Last Name. including any sit/isj,                                   13. COURT ORDER
      AND MAILING ADDRESS                                                                                       0 Appointing Counsel                         LI C Co-Counsel
     St   acy   A.   B’   ancamano                                                                           LI F Subs For Federal Defender                  LI R Subs For Retained Attorney
                                                                                                             LI P Subs For Panel Attorney                    LI Y Standby Counsel
      312 North Avenue East Suite 7

     Cranford, NJ 07016                                                                                     Prior Attorney’s
                                                                                                               Appointisient Dates:
                                                                                                             LI Because the above-naitied person represented has testified under oath or has otherwise
          Telephone Number                            “          1      —                                   satisfied this Court that he or she (1) is financially unable to employ counsel and (2) does
                                                                                                            not wish to svaive counsel, and because the interests ofjuslice so require, the attorney whose
 14. NAME AND MAILING ADDRESS OF LAW FIRM (On/v provide per instructions)                                   name appears in hem 12 is appointed to represent this person in this case. OR
                                                                                                             LI Oilier (See Instructions,)


                                                                                                                                  Si    r    fPresiding Judge or By Orderof the Court

                                                                                                                                9/2/   020

                                                                                                                         Date of Order                               Nunc Pro Time Date
                                                                                                         Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                         appointment.        LI YES      LI NO
 /?1i                     ALAIM FOR SERVICES AND EX1SESj
                                                                                                                     TOTAL
                                                                                                                                      4 P’
                                                                                                                                        MATH;TECH.
                                                                                                                                                   I?OR COURT USE ONLY
                                                                                                                                                               MATHJTECH.
          CATEGORIES (Attach item i:ation ofseri’ices with dates,)                             0  S                                                                                    ADD ITIO”JAL
                                                                                                                    AMOUNT               ADJUSTED               ADJUSTED
                                                                                             CLAIMED
                                                                                                                    CLAIMED               HOURS                 AMOUNT
 IS       a Arraignment and/or Plea
                                                                                                                                                                           000
          b. Bail and Detention Hearings
          c. Motion Hearings
          d. Trial
          e. Sentencing Hearings
          f. Revocation Hearings
          g. Appeals Court
                                                                                                                                                                           0,00
          h. Other (Specif)’ on additional sheets)
                                                                                                                                                                           non

          (RATE PER HOUR = S                                 )       TOTALS:                         0.00                      0.00                 0.00
 16.      a. Interviews and Conferences
          b Obtaining and reviewing records                                                                                    0 00
          c Legal research and bnef writing                                                                                    0 00
          d Traveltime
          e. Investigative and other work (Specit)’ on additional sheets)                                         jii
          (RATE PER HOUR=S                              )   TOTALS:                                  0.00                      0.00                0.00                    0.00
17.       Travel Expenses (lodging. parAin, meals mileage. rtc)                   t!!                  sti(
          Other Expenses (other than expert, transcripts, etc)
18
                                                                                   J
RRAND           TOTALS (CLAIMED AND ADJUS4E 1111                                              ‘III                      0.00  /ivIV                                       0.00
119 CERTIFICATION OF ATTORNEY’PAYEE FOR THE PERIOD OF SERVICE                                                  20 APPOINTMENT TERMINATION DATE                           21. CASE DISPOSITION
                                                                                                                  IF OTHER THAN CASE COMPLETION
       FROM:                                               TO:
22. CLAIM STATUS                  .   0 Final Payment              0 Interim Payment Number                                        0 Suppleitiental Payment
       Have you previously applied to the court for compensation and’or reimbursement for this case? D YES 0 NO                If yes, were you paid?    U YES        U NO
       Other than from the Court, have you, or to your knowledge has anyone else, received payment (compensation or ani’thing a/value) from any oilier source
                                                                                                                                                              in connection with this
       representation? 0 YES          U NO           If yes, give details on additional sheets.
       I swear mar affirm the truth or correctness of the above statements,
       Signature of Attorney                                                                                                                    Date
      I!!I’                                                  APPROVED FOR PAYMENT                            —   COURT USE ONL1                        Z
23. IN COURT COMP.                      24. OUT OF COURT COMP.                 25. TRAVEL EXPENSES                26. OTHER EXPENSES                        27. TOTAL AMT. APPR./CERT.
                                                                                                                                                            $0.00
28. SIGNATURE OF THE PRESIDING JUDGE                                                                              DATE                                      28a. JUDGE CODE

29. IN COURT COMP.                      30. OUT OF COURT COMP.                 31. TRAVEL EXPENSES                32. OTHER EXPENSES                        33. TOTAL AMT. APPROVED
                                                                                                                                                            $0.00
34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment approred                                     DATE                                      34a. JUDGE CODE
       in excess oj’the statuioiy threshold amount.                                    -
